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                         UNITED STATES BANKRUPTCY COURT

                       SOUTHERN DISTRICT OF OHIO (DAYTON)

IN RE:                                        *              CASE NO. 19-30822

TAGNETICS INC.                                *              JUDGE HUMPHREY

         INVOLUNTARY DEBTOR                   *              CHAPTER 7


 MOTION TO WITHDRAW FROM BAKRUPTCY PROCEEDINGS OF PETITIONING
                      CREDITOR S-TEK, INC.

        Now comes the Petitioning Creditor S-TEK, INC., by and through its counsel
Christopher L. Wesner, and does hereby move this Court to allow S-Tek, Inc.’s withdraw as a
petitioning creditor in the above entitled case.

                               MEMORANDUM IN SUPPORT

       S-Tek, Inc.’s claim in this case has reached a settlement. As S-Tek, Inc.’s Claim has
been paid in full, it is hereby requested that the Court issue an order approving the Motion of S-
Tek, Inc. to withdraw from any further bankruptcy proceedings in this matter as per the
telephonic pretrial conference held on July 19, 2019.


Dated: 7/19/2019                               Respectfully submitted,
                                               /s/ Christopher L. Wesner
                                               Christopher L. Wesner (0082699)
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                                         CERTIFICATE OF SERVICE

        I hereby certify that this document was served by email (when the email address of the

party was available to me) and regular U.S. mail this day of July 19, 2019 upon the following:

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                                                     /s/ Christopher L. Wesner




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